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AO 9 1 (Rev. 08/ 09) Criminal Complaint



                                       UNITED STATES DISTRICT COUR                                       ILED BY_ _,_..;,__       o C.
                                                                    for the
                                                       Southe rn District of Florida                              FEB 18 2020
                                                                                                                ANGEL A E NOBLE
                   United States of Ame rica                            )                                      CLERK US DIST CT
                                                                                                               SD OF FLA WPS:
                                  V.                                    )
                                                                        )      Case No. 20-8078-WM
                 MIRNA LUCY SANDOVAL,                                   )
                                                                        )
                                                                        )
                              Defendant(s)


                                                       CRIMINAL COMPLAINT

          I, the complainant in this case, state that the fo llowing is true to the best of my knowledge and be lief.
On or about the date(s) of -----'-F-'e""b-'-ru=a=ry
                                                  ~ 1--'8.,_,
                                                         - =20=2=0' - - - - - in the county of _ ___P_a_lm
                                                                                                         _ B_e_a_c_h_ __      in the

     Southern           District of - - -~F~lo~ri~d=a _ _ _ , the defendant(s) violated:

             Code Section                                                         Offense Description
Title 8 U.S .C. 1326(a) and (b)(1)                Illegal re-entry afte r deportatio n.




          T his c riminal complaint is based on these facts:
See attached affidavit.




          ~ Continued on the a ttached sheet.




                                                                                             ~                signature

                                                                                            ANDY KORZEN TFO - HS I
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:    ht>. / i ,       t
                                '-o       -z..o

City and state:                        West Pa lm Be ach, FL
                                                                                                 Printed name and title
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                          AFFIDAVIT OF ANDY KORZEN
               UNITED STATES DEPARTMENT OF HOMELAND SECURITY
                   IMMIGRATION AND CUSTOMS ENFORCEMENT

              I, Andy Korzen, being duly sworn, depose and state as follows:

              1.     I am a Task Force Officer (TFO) with the Homeland Security

    Investigations (HSI), and I am also Deportation Officer with the Immigration and

    Customs Enforcement (ICE) and have been so employed for over sixteen years. I am

    currently assigned to the Homeland Security Investigations, West Palm Beach, Florida.

    My duties and responsibilities include enforcing criminal and administrative immigration

    laws of the United States. I have also conducted and participated in investigations of this

    nature.

              2.     This affidavit is based upon my own knowledge as well as information

    provided to me by other law enforcement officers. This affidavit does not set f011h every

    fact known to me regarding the investigation but only those facts necessary to establish

    probable cause to believe that Mirna Lucy SANDOVAL committed the offense of illegal

    re-entry after deportation, in violation of Title 8, United States Code, Sections l 326(a)

    and (b)(l).

              3.     On or about February 14, 2020, I received information that Mirna Lucy

    SANDOVAL, an alien who was previously removed from the United States, illegally re-

    entered the United States, and was scheduled to appear at the Palm Beach County

    Courthouse located at 205 N . Dixie Highway, West Palm Beach, FL 33401 on February

    18, 2020 at 10:00 a.m.

              4.     A review of the immigration alien file shows that Mirna Lucy

    SANDOVAL is a native and citizen of Honduras. Records further show that on or about
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    September 9, 2015, Mirna Lucy SANDOVAL was ordered removed. The Order of

    Removal was executed on or about February 1, 2016, whereby Mirna Lucy SANDOVAL

    was removed from the United States and returned to Honduras.

           5.      A further review of the records shows that on or about April 20, 20 15, in

    the Fifteenth Judicial Circuit in and for Palm Beach County, Florida, M irna Lucy

    SANDOVAL was convicted of arson, a second degree felony, in case number

    2014CFO 11 006A.

           6.      I perfo1med a records check in the Computer Linked Application

    lnfo1mational Management System (CLAIMS) to determine if Mirna Lucy SANDOVAL

    filed an application for permission to reapply for admission into the United States after

    depo1tation or removal. After a search was performed in that database system, no record

    was found to exist ind icating that Mirna Lucy SANDOVAL obtained consent from the

    Attorney General of the United States or from the Secretary of Homeland Security for re-

    admission into the United States, as req uired by law.

           7.      On February 18, 2020 at approximately 10:10 a.m., Immigration and

    Customs Enforcement Officers observed Mirna Lucy SANDOVAL entering the Palm

    Beach County Courthouse. They identified themselves as ICE agents and after

    confirming SANDOVAL's identity, they detained Mirna Lucy SANDOVAL.

           8.      On February 18, 2020, Mirna Lucy SANDOVAL's fingerprints were

    scanned into the IAFIS system. The results confirmed that the scanned fingerprints

    belong to the individual who was previously removed from the United States, that is,

    Mirna Lucy SANDOVAL.




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           9.      Based on the foregoing, I submit that probable cause exists to believe that,

    on or about February 18, 2020, Mirna Lucy SA DOV AL, an alien who was previously

    deported and removed from the United States, was found in the United States, w ithout

    having received express consent from the Attorney General or the Secretary of the

    Department of Homeland Security for re-admission into the United States, in violation of

    Title 8, United States Code, Sections 1326(a) and (b)(l).




                                                 AndyK~
                                                 Task Force Officer
                                                 Homeland Security Investigations

                                                     ~
    Subscribed and sworn to before me this   _fJ_ ~ ebruary 2020.

                                                 WILLIAM MA TTHE MAN
                                                 UNITE D ST ATES MA: ISTRJ\ TE JUDGE




                                                 3
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                              UNITED STATES DISTRJCT COURT
                              SOUTHERN DISTRICT OF FLORJDA

                                        PENALTY SHEET


 Defendant's    ame: MIRNA LUCY SANDOVAL

 Case No.:     20-8078-WM

 Counts# 1:

  Illegal Re-entry after Deportation.


  Title 8, United States Code, Sections 1326(a) and (b)(l)

 *Max. Penalty:                 10 Years Imprisonment; 3 Year Supervised Release; $250,000
                                Fine and $100 Special Assessment.




 *Refers only to possible term of incarceration, does not include possible fines, restitution,
 special assessments, parole terms, or forfeitures that may be applicable.
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No.   20-B0?B-WM




 UNITED STATES OF AMERICA

 v.


 MIRNA LUCY SANDOVAL,

                   Defendant.
 - - - - - - - - - - - - - -I


                                 CRIMINAL COVER SHEET

 1.   Did this matter originate from a matter pending in the Central Region of the United States
      Attorney's Office prior to August 9, 2013 (Mag. Judge Alicia Valle)?          Yes ✓ No

 2.   Did this matter originate from a matter pending in the Northern Region of the United States
      Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? _Yes _{_ No



                                              Respectfully submitted,

                                              ARIANA FAJARDO ORSHAN
                                              UNITED STA TES ATTORNEY


                                      BY:
                                              RINKU TRlBUIANI
                                              ASSISTANT UNITED STATES ATTORNEY
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